           Case 2:07-cv-01165-DWA Document 79 Filed 02/10/11 Page 1 of 3
           Case 2:07 -cv-01165-DWA Document 74               Filed 02108/11    Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   NICHOLE EHRHEART, individually                  )
   and on behalfofall others similarly             )    Civil Action No. 2:07-cv-01165
   situated,                                       )
                                                   )
                      Plaintiff,                   )
                                                   )
             v.                                    )
                                                   )
   VERIZON WIRELESS, and DOES 1                    )
   through 10, inclusive,                          )
                                                   )
                     Defendants.                   )

   JOHN J. GARLAND, individually and               )
   on behalf of all others similarly situated,     }    Civil Action No. 2:08-cv-00534
                                                   )
                     Plaintiff,                    )
                                                   )
             v.                                    )
                                                   )
   VERIZON WIRELESS SERVICES,                      )    Chief Judge Donetta W. Ambrose
   LLC, and DOES I through 10, inclusive,          )
                                                   )    Electronically Filed
                     Defendants.                   )
                                                   )
                                                   )

 PLAINTIFFS' MOTION FOR AWARD OF ATTORNEYS' FEES, REIMBURSEMENT
     OF EXPENSES AND PAYMENT OF PLAINTIFFS' INCENTIVE AWARDS

       Plaintiffs hereby move this Court for an award ofattorneys' fees, reimbursement of

expenses and payment of Plaintiffs' incentive awards. In support thereof. Plaintiffs state as

follows:

       I.         Class Representative John J. Garland originally filed his action on July 27, 2007

in the United Slates District Court for the Western District of Tennessee, alleging that Verizon

Wireless (HVerizon Wireless" or "Defendant") violated the Fair and Accurate Credit Transaction

Act, 15 U.S.C. § 1681 el seq ("FACTA"). On August 24,2007, Class Representative Nichole
         Case 2:07-cv-01165-DWA Document 79 Filed 02/10/11 Page 2 of 3
           Case 2:07-cv-01165-DWA Document 74                         Filed 02f08f11        Page 2 of4



Ehrheart filed a parallel action in this Court. (Class Representatives John J. Garland and Class

Representative Nichole Ehrheart will hereinafter be referred to, collectively, as "Plaintiffs.")

         2.       The Complaints alleged that Verizon Wireless violated the truncation

requirements of FACTA by providing credit and/or debit card receipts to customers at the point

of sale that published more than the last five (5) digits of customer credit/debit card account

numbers, and/or credit/debit card expiration dates.

         3.       Verizon Wireless has al all limes denied, and continues to deny, that it has

committed any unlawful acts whatsoever or that it has any liability whatsoever to Plaintiffs or the

Class.

         4.       The total aggregate benefit conferred upon the Class as a result ofthe proposed

Settlement is in the range of between $8,702,760.00 and $12,097,864.00.'

         5.       The total lodestar and costs incurred by Counsel for Plaintiffs and the Class are

$290,761.50.'

         6.       Pursuant to the terms of the Settlement Agreement, Verizon Wireless has agreed

to pay an amount of$207,500.00 in costs and attomeys fees to counsel for Plaintiffs and the

Class.    The payment offees and costs was negotiated separately from the class relief, and

payment of fees and costs in no way effects the amount of relief to be made available to the

class. Because of this fact, the Parties agreement regarding fees and costs is entitled to

substantial deference. In re: Metropolitan Life Insurance Company Sales Practices Liligalion,

No. 96-1 79·MC (W.O. Pa., December 28, 1999)(Ambrose, J.)("!deILije ,,).3


I This range is calculated by multiplying the approximate number of transactions at issue - 1,697,552    by the
lowest amount of relief available to an individual class member ($5.00 x 1,697,552), versus the highest relief
available to an individual class member ($7.00 x 1,697,552), plus the $7,500.00 in Plaintiff incentive awards, plus
counsel fees and costs of$207,500.00.
2 See Declaration ofR. Bruce Carlson In Support of Mation for Attorneys' Fees, Costs and Plaintiffs' Incentive
Awards attached as Exhibit 1.
] A copy oftlte Me/Life Findings and Conclusions is altached as Exhibit 2.


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       Case 2:07-cv-01165-DWA Document 79 Filed 02/10/11 Page 3 of 3
        Case 2:07-cv-01165-DWA Document 74                Filed 02/08/11    Page 3 of 4



       7.     As set forth more fully in the accompanying Memorandum of Law, Plaintiffs are

applying for fees and costs in the amount of $207,500.00, consistent with the specific terms of

the Settlement Agreement. The requested fees and costs of $207,500.00 represents a percentage

of the total aggregate value ofthe settlement of between 1.7% and 2.4%. This percentage is

reasonable and appropriate under all ofthe factors discussed in Gunter v, Ridgewood Energy

Corp" 223 FJd 190, 195 n.l (3d CiL 2000).

       8.      Plaintiffs are also applying for reasonable and appropriate incentive payments of

$2,500.00 to Nichole Ehrheart and S5,000,00 to John J, Garland in recognition of their efforts on

behalf ofthe Class, Verizon Wireless has agreed to make this payment as is set forth in the

Settlement Agreement.

       WHEREFORE, Plaintiffs respectfully request that they be awarded reasonable attorneys'

fees and costs in an amount of$207,500.00 consistent with the specific terms of the Settlement

Agreement plus incentive payments of $2,500,00 and $5,000.00.




                                               3
